980 F.2d 728
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Ramon Elesvan DORTA, a/k/a Raymond Dorchester, Defendant-Appellant.
    No. 92-6803.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 6, 1992Decided:  December 3, 1992
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Richard C. Erwin, Senior District Judge.
      Ramon Elesvan Dorta, Appellant Pro Se.
      David Bernard Smith, Assistant United States Attorney, Greensboro, North Carolina, for Appellee.
      M.D.N.C.
      AFFIRMED.
      Before HALL, MURNAGHAN, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ramon Elesvan Dorta appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Dorta, Nos.  CR-84-31-G, CA-91-428-2 (M.D.N.C. July 14, 1992).  We deny Dorta's motion for oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    